Case 6:17-cv-02206-CEM-LHP Document1 Filed 12/29/17 Page 1 of 15 PagelID 1

MILEQ

UNITED STATES DISTRICT COURT
MIDDLE DISTRICT OF FLORIDA

ORLANDO DIVISION
NUVASIVE, INC., )
Plaintiff,
v. Civil Case No. lp: (1-CV -220leOt\-(8 GK
ABSOLUTE MEDICAL, LLC, GREG INJUNCTIVE RELIEF SOUGHT
SOUFLERIS, and DAVE HAWLEY, )
Defendants, )

COMPLAINT FOR INJUNCTIVE RELIEF AND DAMAGES

For its Complaint against Absolute Medical, LLC (“Absolute Medical”), Greg Soufleris
(“Soufleris”), and Dave Hawley (“Hawley”), NuVasive, Inc. (“NuVasive”), through its
attorneys, alleges that:

NATURE OF ACTION

1. Absolute Medical, an exclusive distributor of NuVasive’s products, Soufleris, the
owner of that distributorship, and Hawley, a sales representative of the distributorship, are
unfairly competing with NuVasive.

2. Absolute Medical is breaching numerous contractual obligations imposed on it by,
without limitation:

a. attempting to terminate the contracts between it and NuVasive without cause;
b. failing to maintain sufficient personnel to service its sales territory;

c. failing to comply with its reasonable non-compete and non-solicit obligations;
and

d. failing to ensure that its former sales representatives comply with their
reasonable non-compete and non-solicit obligations.
Case 6:17-cv-02206-CEM-LHP Document1 Filed 12/29/17 Page 2 of 15 PagelD 2

3. Soufleris—who is actively seeking to convert NuVasive’s business to one of its
direct competitors—is personally liable for Absolute Medical’s contractual breaches and his own

wrongful acts.

oe

4. Hawley is selling products manufactured by one of NuVasive’s competitors to
surgeons he serviced on NuVasive’s behalf, and, upon information and belief, stole two custom
instruments NuVasive created for one of those surgeon customers and mailed them to that
competitor so that they could be copied.

5. NuVasive asks this Court to: (1) issue preliminary and permanent injunctions which
require Absolute Medical to comply with the contractual obligations imposed on it by the
agreement with NuVasive; (2) award it damages against Soufleris and Hawley; and (3) transfer
its claims for damages against Absolute Medical to binding arbitration in San Diego, California.

THE PARTIES

6. NuVasive is a citizen of Delaware and California. It is incorporated under the laws
of Delaware, and maintains its principal place of business in San Diego, California.

7. Absolute Medical—a single-member Florida Limited Liability Company—is a
citizen of Florida, with its principal place of business in Heathrow, Florida.

8. The relationship between NuVasive and Absolute Medical is governed by the
January 1, 2017 Exclusive Sales Representative Agreement (the “Agreement”) as amended by
the July 1, 2017 Territory Transition Agreement (the “Transition Agreement”).

9. Soufleris is Absolute Medical’s president and sole member. He is a citizen of the
State of Florida who resides in Heathrow, Florida. Upon information and belief, Soufleris

exercises complete control and dominion over Absolute Medical and has transferred funds out of
Case 6:17-cv-02206-CEM-LHP Document1 Filed 12/29/17 Page 3 of 15 PagelD 3

Absolute Medical’s accounts into other businesses and entities that he controls so that, among
other reasons, Absolute Medical’s creditors cannot collect on any claims or judgments against it.

10. Hawley is a sales representative for Absolute Medical. He is a citizen of the State of
Florida who, upon information and belief, resides in Orlando, Florida.

JURISDICTION, VENUE, AND GOVERNING LAW

11. This Court has original jurisdiction of this case under 28 U.S.C. § 1332 because this
is a civil action between citizens of different states in which the matter in controversy exceeds
the sum or value of $75,000, exclusive of interest and costs.

12. Venue for NuVasive’s request for equitable relief is proper in the Middle District of
Florida pursuant to 28 U.S.C. § 1391 as: (a) Absolute Medical resides in this District; and (b) a
substantial part of the events or omissions giving rise to the claim occurred in this District.

13. Paragraph 12.01 of the Agreement and paragraph 13 of the Transition Agreement
provide that they “shall be governed by and construed in accordance with the laws of the State of
Delaware, without giving any effect to the choice of law principles thereunder.”

14. Paragraph 12.02 of the Agreement and paragraph 13 of the Transition Agreement
require NuVasive and Absolute Medical to submit all disputes to binding arbitration in San
Diego, California, other than requests for injunctive or other equitable relief which may proceed
pending arbitration. Neither the Agreement nor the Transition Agreement requires NuVasive to
submit its claims against Soufleris and Hawley to mediation.

ALLEGATIONS RELATING TO ALL COUNTS
A. NuVasive’s Business.

15. NuVasive is an innovative, market-leading, medical device company focused on the

design, development, and marketing of products for the surgical treatment of spine disorders.
Case 6:17-cv-02206-CEM-LHP Document1 Filed 12/29/17 Page 4 of 15 PagelD 4

16. NuVasive markets its surgical products through its exclusive sales force which
consists of directly-employed personnel and exclusive sales agents. NuVasive invests substantial
funds into providing this sales force with extraordinary, specialized, comprehensive, and
industry-leading training. This training supplies NuVasive’s sales force with a deep
understanding of NuVasive’s products, methodology, trade secrets, and other valuable
confidential or proprietary information.

17. NuVasive invests significant time, money, and resources into its sales personnel so
that they are able to favorably represent the company and create goodwill with potential and
existing NuVasive customers. This goodwill, arising from the substantial customer relationships
developed between NuVasive’s sales personnel and its customers, belongs to NuVasive as it is
the product of NuVasive’s significant investment.

B. Absolute Medical’s Contractual Obligations to NuVasive.

18. Absolute Medical became an exclusive distributor of NuVasive’s products on
January 1, 2013. On January 1, 2017, after many months of negotiations, Absolute Medicai and
NuVasive entered into the Agreement, which, among other things, required Absolute Medical to
exclusively distribute NuVasive’s products for five years.

19. To assist in distributing NuVasive’s products, Absolute Medical, pursuant to Section
5.03 of the Agreement, hired a staff of sales representatives (“Representative Affiliates”) to
assist in promoting NuVasive’s products in its sales territory.

20. Section 5.04 of the Agreement requires Absolute Medical to “promptly advise
NuVasive of . . . any changes in [Absolute Medical’s] status, organization, personnel, and similar

matters...”
Case 6:17-cv-02206-CEM-LHP Document1 Filed 12/29/17 Page 5 of 15 PagelD 5

21. Like all NuVasive exclusive distributors, Absolute Medical (and Absolute Medical’s
Representative Affiliates) receives NuVasive’s extraordinary, industry-leading training, has
access to and knowledge of NuVasive’s trade secrets and other proprietary information, and is
the face of NuVasive to customers within its sales territory. Accordingly, to protect its
legitimate business interests, NuVasive required that Absolute Medical agree to certain
reasonable confidentiality, non-competition, and non-solicitation obligations as a condition of
NuVasive allowing Absolute Medical to sell its products.

22. Section 5.09(a) of the Agreement requires Absolute Medical to: (a) identify all
products and services that it and its Representative Affiliates promote; and (b) update that list of
products and services as needed. It provides:

Representative has identified in Exhibit G all products and services for which
Representative or Representative Affiliates (directly or indirectly) act as a sales
representative, agent, employee, or similar position. Representative shall update
Exhibit G so that it is complete and accurate at all times and Representative
agrees that failure to update Exhibit G shall constitute a material breach of the
Agreement and may result in NuVasive exercising its rights under Section 9.03.

23. Section 5.09(c) of the Agreement imposes reasonable non-competition and non-
solicitation obligations on Absolute Medical. It provides:

During the Term and for a period of twelve (12) months thereafter, Representative
and Representative Affiliates shall not (i) represent, promote, sell, solicit, or
otherwise commercialize (directly or indirectly) any products or services that are,
in NuVasive’s reasonable judgment, competitive with any of NuVasive’s products
or services (including the Products) without the prior written consent of
NuVasive, (ii) solicit, encourage, or induce, or cause to be solicited, encouraged
or induced (directly or indirectly) any Restricted Persons within the Territory, to
terminate or adversely modify any business relationship with NuVasive, or not to
proceed with, or enter into, any business relationship with NuVasive, nor
otherwise interfere with any business relationship between NuVasive, and any
Restricted Persons within the Territory, or (iii) solicit or offer to work (directly or
indirectly) or hire any of NuVasive’s employees, agents or representatives. The
twelve (12) month period during which the restrictions of this Section are
applicable after the Term shall toll for any period of time in which Representative
is not in compliance herewith.
Case 6:17-cv-02206-CEM-LHP Document1 Filed 12/29/17 Page 6 of 15 PagelD 6

24. Section 5.09(e) of the Agreement requires Absolute Medical to ensure that its
Representative Affiliates enter into non-competition and non-solicitation agreements. It
provides:

Representative (i) represents, warrants and covenants that each Representative
Affiliate engaged by it as of the Effective Date or any time thereafter during the
Term, will have executed an agreement in form and substance sufficient to
contractually obligate such person or entity to comply with the restrictions
contained in this Section 5.09 prior to performing any services for the benefit of
NuVasive, or Promoting the Products or receiving any information regarding the
Products (a “Compliance Agreement”), (ii) shall cause each Compliance
Agreement to name NuVasive as an intended third party beneficiary with full
right to directly enforce provisions necessary to comply with this Section 5.09,
and (iii) will vigorously enforce the restrictions contained in this Section 5.09 and
each Compliance Agreement at its own cost (and in the event Representative fails
to adequately enforce such restrictions, NuVasive may do so at Representative’s
cost). Representative shall provide NuVasive a copy of each Compliance
Agreement with respect to each Representative Affiliate immediately upon such
person or entity becoming a Representative Affiliate. Each Compliance
Agreement shall require all sales representatives to comply with the terms of
Section 5.08 and Section 5.09 hereof. Representative shall be liable to NuVasive
for any breaches by the Representative Affiliate of the Compliance Agreement.

25. The restrictive covenants described in the preceding two paragraphs are reasonable
because: (a) their temporal restrictions are limited to the term of the Agreement plus the
following twelve months after that term concludes; and (b) their geographic restrictions are
limited to Absolute Medical’s NuVasive sales territory.

26. Section 8.01 of the Agreement imposes confidentiality obligations on Absolute
Medical. It provides:

Non-Disclosure. Each Party shall not, except as otherwise expressly provided
herein, use, disclose, disseminate or otherwise allow access to the Confidential
Information of the other Party to anyone other than to employees that have a need
to know such Confidential Information to implement this Agreement and who are
bound by written confidentiality obligations with provisions no less stringent than
those contained in this Article VIII. Each Party shall prevent unauthorized
disclosure or use of the Confidential Information of the other Party. Each Party
shall execute all documents and otherwise shall take all necessary steps to ensure
that each be able to enforce rights hereunder pertaining to Confidential
Case 6:17-cv-02206-CEM-LHP Document1 Filed 12/29/17 Page 7 of 15 PagelD 7

Information. Each Party shall be responsible for any breach of this Section 8.01
by employees, contractors or agents.

27. Section 10.01 of the Agreement provides, in relevant part:

Indemnification by Representative. Representative shall indemnify, defend and
hold harmless NuVasive and its present and former, direct and indirect,
subsidiaries, affiliates, employees, officers, directors, stockholders, members,
agents, representatives, and permitted successors and permitted assigns (each a
“NuVasive Indemnitee”) from and against...subject to Section 10.03, any
Litigation Costs incurred by a NuVasive Indemnitee while investigating or
conducting the defense of any Claim, in any such case, solely to the extent such
Claim is directly based on or directly arises out of or from any breach by
Representative of any of its representations, warranties and covenants under this
Agreement...the gross negligence and willful misconduct of Representative or
any Representative Affiliates...

28. Section 12.04 of the Agreement provides:
Further Assurances. On NuVasive’s request, Representative shall, at its sole cost

and expense, execute and deliver all such further documents and instruments, and
take all such further acts, necessary to give full effect to this Agreement.

C. Absolute Medical’s Breaches of its Contractual Obligations.

29. In a November 27, 2017 email, Soufleris notified NuVasive of Absolute Medical’s
intent to resign from its “partnership” with NuVasive. NuVasive attaches a copy of this email as
Exhibit A.

30. Neither the Agreement nor the Transition Agreement allow for Absolute Medical to
terminate the Agreement without cause.

31. The only grounds for Absolute Medical to terminate the Agreement are contained in
Article IX of the Agreement, none of which are relevant to this case.

32. In a December 5, 2017 email, Absolute Medical’s counsel stated that three
Representative A ffiliates—Hawley, Ryan Miller (“Miller”), and Brandon Gottstein (“Gottstein”)

resigned from Absolute Medical. (NuVasive attaches a copy of this email as Exhibit B).
Case 6:17-cv-02206-CEM-LHP Document1 Filed 12/29/17 Page 8 of 15 PagelD 8

33. At least two of the Representative Affiliates, Hawley and Miller, now serve as sales
representatives for one of NuVasive’s direct competitors, Alphatec Spine, Inc. (“Alphatec”).

34. Hawley and Miller are soliciting business from, and performing services for, the
same customers they solicited business from and performed services on NuVasive’s behalf.

35. Contrary to the obligations imposed on it by Section 5.09(e) of the Agreement,
Absolute Medical has taken no steps to stop Hawley and Miller from violating their contractual
obligations not to solicit or service the customers they solicited or serviced on Absolute
Medical’s behalf. Indeed, Absolute Medical has refused to even provide NuVasive with copies
of their non-compete and non-solicit agreements.

36. Upon information and belief, Absolute Medical’s attorney’s statement that Hawley
and Miller resigned from Absolute Medical is not true.! In support of this allegation, NuVasive
notes that on December 12, 2017, Hawley utilized his Absolute Medical email address to
correspond with Alphatec about custom instruments needed to convert the business of a surgeon
within his non-compete territory.

37. Soufleris has solicited business from at least two of Absolute Medical’s customers
on behalf of Alphatec.

38. Miller and Soufleris attended a December 6, 2017 dinner with one of Absolute
Medical’s surgeon-customers and asked that surgeon-customer to try Alphatec’s products.

39. To date, Absolute Medical has not updated Exhibit G to the Agreement or otherwise

informed NuVasive that it is working with competitive companies.

' To be clear, NuVasive does not believe that Absolute Medical’s attorney made an intentional misrepresentation.
Rather, it believes that Absolute Medical provided its attorney with misinformation, which its attorney then provided
to NuVasive.
Case 6:17-cv-02206-CEM-LHP Document1 Filed 12/29/17 Page 9 of 15 PagelD 9

40. As noted in paragraph 37, on December 12, 2017, Hawley utilized his Absolute
Medical email address to send a message to Alphatec regarding custom instruments needed by a
surgeon,to whom he (through Absolute Medical) regularly sold NuVasive products. This email:

a. Provided Alphatec with precise descriptions of the instruments; and

b. Upon information and belief, promised to send the custom instruments
NuVasive previously made for the surgeon to Alphatec so that Alphatec could
copy them.

(NuVasive attaches a copy of this email as Exhibit C).

COUNT I (Breach of Contract — Injunctive Relief against Absolute Medical)

41. Plaintiff fully incorporates and realleges paragraphs 15-40 as if fully set forth
herein.
42. The Agreement, including, without limitation, Sections 5.09 and 8.01, is a valid and
enforceable contract.
43. The geographic and temporal restrictions contained in Section 5.09 are reasonable.
44, Even if Section 5.09 were overbroad, Delaware law permits courts to make
reasonable alterations to overbroad covenants to the extent necessary to protect NuVasive’s
interests.
45, NuVasive fully performed all of the obligations imposed on it by the Agreement.
46. Absolute Medical has breached or intends to breach many of the obligations imposed
on it by the Agreement by, without limitation:
a. attempting to unilaterally terminate the Agreement;
b. not enforcing Hawley’s and Miller’s non-compete and non-solicit obligations

or, alternatively, releasing Hawley and Miller from their non-compete and non-
solicit obligations without NuVasive’s permission;

c. soliciting business on Alphatec’s behalf} and

d. not updating Exhibit G to the Agreement.
Case 6:17-cv-02206-CEM-LHP Document1 Filed 12/29/17 Page 10 of 15 PageID 10

47. There is a reasonable probability that NuVasive will prevail on the merits of this
action as Absolute Medical is breaching and/or threatening to breach valid and enforceable
contractual obligations,

48. NuVasive will be irreparably harmed if the Court does not require Absolute Medical
to specifically perform the obligations imposed on it by the Agreement as it will, without
limitation, likely lose the goodwill it developed with Absolute Medical’s customers as well as
sales to those customers. Additionally, if Absolute Medical does not fully perform its
contractual obligations, NuVasive will find itself with insufficient sales personnel to fully service
its business in Absolute Medical’s sales territory.

49, No legal remedy can fully compensate NuVasive for the harm Absolute Medical’s
actions are causing. NuVasive bargained for a five-year relationship with Absolute Medical, and
now Absolute Medical is working for one of NuVasive’s competitors in the same territory it is
contractually obligated to work for NuVasive.

50. The balance of equities tips in favor of issuing the requested injunction because it
will not harm Absolute Medical, as Absolute Medical is contractually obligated to perform all of
the tasks identified in the Agreement.

51. Issuing the requested injunction will benefit the public’s interest as the public has an
interest in seeing contracts enforced as written.

COUNT II (Breach of Contract — Damages/Arbitration against Absolute Medical)
52. Plaintiff fully incorporates and realleges paragraphs 15-40 as if fully set forth

herein.

53. The Agreement is a valid and enforceable contract.

10
Case 6:17-cv-02206-CEM-LHP Document1 Filed 12/29/17 Page 11 of 15 PageID 11

54. Absolute Medical has breached or intends to breach the obligations imposed on it by
the Agreement by, without limitation:
a. attempting to unilaterally terminate the Agreement;
b. not enforcing Hawley’s and Miller’s non-compete and non-solicit obligations
or, alternatively, releasing Hawley and Miller from their non-compete and non-

solicit obligations without NuVasive’s permission; and

c. soliciting business on Alphatec’s behalf without updating Exhibit G to the
Agreement.

55. NuVasive has incurred and continues to incur damages as a result of Absolute
Medical’s breach of its obligations under the Agreement.

56. Pursuant to 9 U.S.C. § 4, this Court should order NuVasive’s breach of contract
claim for damages proceed to arbitration in the manner provided for in the Agreement.

COUNT II (Conversion against Hawley)

57. Plaintiff fully incorporates and realleges paragraphs 15-40 as if fully set forth
herein.

58. Upon information and belief, Hawley shipped custom surgical imstruments that
NuVasive created and owned to Alphatec so that Alphatec could create substantially-identical
instruments.

59, Hawley did not have the right to exercise dominion over or send the custom surgical
instruments to Alphatec.

60. Hawley’s conversion of NuVasive’s custom surgical instruments harmed NuVasive
and caused it to suffer damages.

COUNT IV (Statutory Individual Liability against Soufleris)

61. Plaintiff fully incorporates and realleges paragraphs 15-40 and 53-56 as if fully set

forth herein.

1]
Case 6:17-cv-02206-CEM-LHP Document1 Filed 12/29/17 Page 12 of 15 PagelD 12

62. Absolute Medical is a Limited Liability Company formed and existing under the
Florida Revised Limited Liability Company Act. Fla. Stat. §§ 605.0101, et seq.

63. Soufleris—as its sole managing member—owes Absolute Medical certain duties,
including without limitation, fiduciary duties of loyalty and care.

64. Soufleris’ actions and failures to act on behalf of Absolute Medical constitute
breaches and/or failures to perform the duties he owes to Absolute Medical.

65. Soufleris’ breaches and/or failures to perform were, without limitation, reckless,
committed in bad faith and with malicious purposes, and constitute transactions from which
Soufleris derived improper personal benefits, directly and indirectly.

66. Pursuant to the Florida Revised Limited Liability Company Act, Florida Statutes
§ 605.04093, Soufleris is personally liable for the monetary damages Absolute Medical owes

NuVasive,

COUNT V (Piercing the Corporate Veil against Soufleris)
67. Plaintiff fully incorporates and realleges paragraphs 15-40 and 53-56 as if fully set

forth herein.

68. Soufleris dominates and exercises complete control over Absolute Medical to the
extent that Absolute Medical’s independence is non-existent and Soufleris is, in fact, an alter ego
of Absolute Medical.

69. Soufleris—by his unfair and inequitable conduct—fraudulently and/or improperly
organized and used Absolute Medical to mislead and/or defraud NuVasive in an attempt to,
without limitation, evade its existing personal liability to NuVasive.

70. Soufleris’ fraudulent and improper use of the corporate form is the proximate cause
of the damages NuVasive has incurred and continues to incur as a result of Absolute Medical’s

breach of its obligations under the Agreement.

12
Case 6:17-cv-02206-CEM-LHP Document1 Filed 12/29/17 Page 13 of 15 PagelD 13

71. Accordingly, this Court should disregard the corporate form and hold Soufleris

personally liable for any judgment rendered against Absolute Medical in this matter.

COUNT VI (Florida Deceptive and Unfair Trade Practices Act against all Defendants)
72. Plaintiff fully incorporates and realleges paragraphs 15-40 as if fully set forth

herein.

73. The Florida Deceptive and Unfair Trade Practices Act (“FDUTPA”), Florida
Annotated Statues §§ 501.201, et seg., makes unfair methods of competition, unconscionable
acts or practices, and unfair or deceptive acts or practices in the conduct of any trade or
commerce unlawful.

74. Any person aggrieved by a violation of the FDUTPA may bring a private action to
obtain declaratory and injunctive relief and any person who has suffered a loss by a violation of
the FDUTPA may recover damages, as well as attorney’s fees and costs, on account of that loss.

75. Absolute Medical and Soufleris have violated the FDUTPA by, without limitation:
(i) unfairly competing with NuVasive by soliciting business on Alphatec’s behalf, and (ii)
engaging in unfair and/or deceptive acts and practices by:

a. attempting to unilaterally terminate the Agreement;
b. not enforcing Hawley’s and Miller’s non-compete and non-solicit obligations

or, alternatively, releasing Hawley and Miller from their non-compete and non-
solicit obligations without NuVasive’s permission; and

c. soliciting business on Alphatec’s behalf without updating Exhibit G to the
Agreement.

76. Upon information and belief, Hawley has violated the FDUTPA by unfairly
competing with NuVasive and engaging in unfair and/or deceptive acts and practices by shipping
custom surgical instruments that NuVasive created and owned to Alphatec so that Alphatec

could create substantially identical instruments.

13
Case 6:17-cv-02206-CEM-LHP Document1 Filed 12/29/17 Page 14 of 15 PageID 14

77. Defendants’ violations of the FDUTPA have aggrieved NuVasive and caused it to
suffer damages.

COUNT VII (Tortious Interference With Business Relationships against Soufferis)

78. Plaintiff fully incorporates and realleges paragraphs 15-40 as if fully set forth
herein.

79. Business relationships exist between NuVasive and its surgeon-customers who
purchase and utilize its products via its exclusive distributor Absolute Medical.

80. Soufleris possessed actual knowledge of these business relationships at the time he
began soliciting business from NuVasive’s surgeon-customers.

81. Soufleris’ solicitation of NuVasive’s surgeon customers was, and is, an intentional
and unjustified interference with NuVasive’s business relationship with its surgeon-customers.

82. NuVasive has incurred, and continues to incur, damages due to Soufleris’ tortious
interference with NuVasive’s business relationship with its surgeon-customers.

PRAYER FOR RELIEF

WHEREFORE, NuVasive respectfully requests that this Court:
A. Issue a preliminary and final injunction which requires Absolute Medical to comply
with all of the contractual obligations it owes to NuVasive including, without limitation:

1. fulfilling its contractual obligations for the entire term of the Agreement;

2. providing NuVasive with copies of the current and former Representative
Affiliates’ Compliance Agreements; and

3. enforcing the former Representative Affiliates’ Compliance Agreements or pay to
NuVasive the reasonable costs (including reasonable attorney’s fees) it incurs in
prosecuting those actions.

14
Case 6:17-cv-02206-CEM-LHP Document1 Filed 12/29/17 Page 15 of 15 PagelD 15

B. Award NuVasive the reasonable costs, including attorney’s fees, it incurs in
obtaining the requested equitable relief;

C. Compel NuVasive’s claim for monetary damages to binding arbitration; ~

D. Award any and all relief, including without limitation declaratory relief, injunctive
relief, and monetary damages, including attomey’s fees and costs, available to NuVasive under
the FDUTPA;

E. Disregard the corporate form and hold Soufleris personally liable for NuVasive’s
damages pursuant to the Florida Revised Limited Liability Company Act and/or the doctrine of
piercing the veil; and

F. Grant any other further and general relief it deems just and proper.

Respectfully submitted,

R. Craig Mayfield (Fla. Bar No. 0429643)
cmayfield@bradley.com

Diana Evans (Fla. Bar No. 98945)
Dnevans@bradley.com

Bradley Arant Boult Cummings LLP
100 North Tampa Street, Suite 2200
Tampa, Florida 33602

Tel: (813) 559-5500

Fax: (813) 229-5946

Attorneys for Plaintiff NuVasive

15
